              Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 1 of 21 PageID #:1                 C.(.


-4g
      qlNlli l(E"r c"*pr.i't                      ause. nu"ri, N. s,,8. B,ikH"t         L Hof,)
                                 UNITED STATES DISTRICT COURT
      zc.JUL I 0 20lg            NORTHERN DISTRICT OF ILLINOIS               JUL 1 0 20,9
                                       EASTERN DIVISION
                                                                               8ff.9,S#frfr,tgBEft
 UNITED STATES OF AMERICA
                                                    CASE NUMBER:
                        v.
                                                    UNDER SEAL
 MICHAEL FRONTIER

                                      CRIMINAL COMPLAINT
                                                                    19CR 556
                                                                  MAGISTRAIE JUDGT FIII.IilEGAN
        I, the complainant in this case, state that the following is true to the best of my knowledge
and belief:

      From on or about August 2, 20L5, to on or about September 16, 2016, at Chicago, in the
Northern District of Illinois, Eastern Diyision, and elsewhere, defendant MICHAEL FRONTIER
devised a scheme to defraud and executed and concealed the scheme by filing a bankruptcy case
and documents in a bankruptcy case and making false representations in a bankruptcy case,
namely, Inre Michael Frontier, case number 15-28491, in violation of Title 18, United States Code,
Section 157.


      This criminal complaint is based upon these facts:
      X Continued on the attached sheet.
                                                                  a
                                                       USSELL
                                                      Special Agent
                                                      Federal Bureau of Investigation

Sworn to before me and signed in my presence.

Date: Julv 10. 2019


 City and state: Chicaeo. Illinois                 SHEII"A FINNEGAN. U.S. Maeistrate Judee
                                                               Printed nanle and T'itle    --
       Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 2 of 21 PageID #:2




 UMTED STATES DISTRICT COURT
                                             SS
 NORTHERN DISTRICT OF ILLINOIS

                                        AFFIDAVIT

        I, RUSSELL JEWELL, being duly sworn, state as follows:

I.      Preliminarv Matters
        1.    I am a Special Agent with the Federal Bureau of Investigation (FBI),
apd have been so employed since approximately June 6, 2010. My current
responsibilities include the investigation of white collar crime, including bank, mail,

wire, and bankruptcy fraud, as well as organized crime offenses, including but not

limited to illegal gambling offenses.

        2.    This affidavit is submitted in support of a criminal complaint alleging

that MICHAEL FRONTIER devised a scheme to defraud and executed and concealed

the scheme by (1) filing a bankruptcy case; (2) filing documents in a bankruptcy case;

and (3) making false representations in a bankruptcy case, namely, In re Michael

Frontier, case number 15-28 49L, inviolation of Title 18, United States Code, Section

t57.

        3.    Because this affidavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint charging FRONTIER

with the offense described above, I have not included each and every fact known to

me concerning this investigation. I have set forth only the facts that I believe are

necessary to establish probable cause to believe that defendant committed the

offlenses alleged in the complaint.
      Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 3 of 21 PageID #:3




       4.    This affrdavit is based on my participation in this investigation, my

training and experience, information obtained from fi.nancial institutions,
information obtained from witness interviews, information obtained from public

records (including information flled in h, re Michael Frontier, case number 15-28 49t),

results of physical surveillance, and information received from other law enforcement

agents.

rI.    Summarv of Probable Cause
       5.    There is probable cause to believe that MICHAEL FROI{TIER has

violated Title 18, United States Code, Section 157 by engaging in a scheme to defraud

FRONTIER s creditors and the trustee appointed to administer FRONTIER's

bankruptcy case, through which scheme FRONTIER concealed property of his

bankruptcy estate from his creditors and the trustee, and executed and concealed the

scheme by filing a bankruptcy petition initiating In re Michael Frontier, case number

l5-2849L Qris bankruptcy case); filing documents in his bankruptcy case which

contained false representations, and making false representations in and to the

United States Bankruptcy Court. Specifically, as set forth in greater detail below,

through and as part of this scheme, FRONTIER concealed property of his bankruptcy

estate, including cash and cash equivalents in undisclosed income from an illegal

gambling business.




                                          2
      Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 4 of 21 PageID #:4




UI.    Facts Establishing Probable Cause

       A.      Chapter 7 Bankruptcy Overview

       6.      To begin a bankruptcy case, a petition must be filed in the United States

Bankruptcy Court. Persons who fi,le a petition are referred to as "debtors" under

federal bankruptcy law. The filing of a petition creates a "bankruptcy estate"

consisting of all legal or equitable interests of the debtor in property, as well as all

liabilities of the debtor, as of the commencement of the bankruptcy case.

       7.      Chapter 7 of the Bankruptcy Code (Title 11 of the United States Code)

provides for "liquidation," meaning the sale of a debtor's nonexempt property, and the

distribution of the proceeds to creditors.

       8.      In connection with a Chapter 7 petition, debtors are required to complete

and frle, under penalty of perjury, (1) schedules of assets and liabilities; (2) a schedule

of current income and expenses; (3) a statement of financial affairs; and (4) a schedule

of executory contracts and unexpired leases. Individual debtors were also required to

fi.Ie, among other things, a statement of compliance with a credit counseling

requirement.

       9.      The debtor is also required to provide, under penalty of perjury, a list of

all creditors and the amount and nature of their claims; the source, amount, and
frequency of the debtor's income; a list of all of the debtor's property; and a detailed

list of the debtors' monthly living expenses. In particular, debtors were required to
disclose personal property, including cash on hand, and other personal property of

any kind.
     Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 5 of 21 PageID #:5




         B.    Filings and Relevant Activity in FRONTIER's Bankruptcy Case
         10. Publicly available court records indicate that in JuIy 2009, Richard and
Tara Mahoney sued FRONTIER in the Circuit Court of DuPage County, Illinois for

personal injury, loss of consortium, and negligence, which was captioned Mahoney u.

Frontier, case number 2009L00836. According to the complaint filed in that case,

Mahoney crashed a motorcycle that he and FRONTIER had been fi,xing, and

sustained injury. On or about May 3, 20L2, the court entered a judgment against

FRONTIER in the total amount of approximately $1,579,618.83.

         11. On or about August 20,20L5, FRONTIER fiIed a Chapter 7 bankruptcy
petition in the United States Bankruptcy Court for the Northern District of Illinois,

In re Michael Frorutier, which was assigned case number l5-2849I. Upon the frling of

this petition, FRONTIER became a debtor,'and all legal or equitable interests that

he had in property became property of his bankruptcy estate. FRONTIER signed the

petition in a space above the following warning: "Penalty for making a false statement

or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or

both."

         12. As part of his petition, FRONTIER fiIed a Schedule B-Personal
Property and Schedule I-Income. FRONTIER made the following statements of

relevance in these Schedules:

              a.     In Schedule B, FRONTIER stated that he only had $40 of cash on

hand, $280 in a TCF checking account, and $650 in miscellaneous household goods




                                          4
      Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 6 of 21 PageID #:6




and clothing. Under "Accounts receivable," FRONTIER checked the box indicating

"None."

              b.     In Schedule I, FRONTIER stated that he was self-employed,
doing "building maintenance for various parties." He stated his monthly gross income

was $1,350, with $0 in other net income from "operating a business." The only "other

monthly income" he disclosed. was $534.10 per month, with the source provided. as

"[flather makes car payment."

       13. As part of his petition, FRONTIER listed total liabilities of
$1,635,863.83. His petition included a Schedule F-Creditors Holding Unsecured

Nonpriority Claims. Among other creditors, FRONTIER listed the Mahoneys as

holding a claim of $1,549,618.83 for'Judgment, neglicence [sic] suit for PI & PD."l

       14. On or about September 15, 2015, FRONTIER attended a Section 341
meeting2 in his bankruptcy proceeding. The Section 341 meeting was recorded and

under oath. During the meeting, FRONTIER affirmed that he understood that, by

signing his bankruptcy petition, he was declaring under penalty of perjury that the

information contained in the petition was true and correct. He stated that he did not

need to make any changes or corrections to the petition. He similarly answered, "No,"

to the question, "Can you sue anyone or make a claim against anyone." He was also


1 FRONTIER initially listed the Mahoneys' attorney as also holding a claim in the same
amount. He frled an amended Schedule F to fix that error on September 30, 2015; with that
amendment, his total liabfities became $1,635,863.83. Other than the judgment he owed to
the Mahoneys, his liabilities included a car loan and credit card debt.
2Pursuant to 11 U.S.C. S 341, a Section 341 meeting is a meeting involving the United States
Trustee, the debtor, and aII of the debtor's creditors, during which the Trustee orally
examines the debtor under oath regarding the debtor's bankruptcy petition.
     Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 7 of 21 PageID #:7




asked what he did for work in the past two years. He responded, "I do mainly

painting, but some carpentry . . . [it's] word of mouth, pretty much, I know people

that are in the trades, it's just by referral."

       15. FRONTIER did not file any other supplements or amendments to
Schedules B or I. On or about February 1"6, 2016, the Bankruptcy Court issued an

order granting a bankruptcy discharge to FRONTIER, including with respect to the

$1,549,618.83 judgment owed to the Mahoneys.

       C. FRONTIER's Operation of a Gambling Business
       16. Contrary to FRONTIER's disclosure and affirmation in his Section 341
meeting that he was self-employed doing building maintenance, as discussed below,

FRONTIER was operating an illegal gambling business from at least approximately

2010 through at least approximately December 2016, which generated cash income

that FRONTIER concealed from his creditors (including the Mahoneys, who were

owed $1,549,618.83 by FRONTIER), and did not disclose his operation of the illegal

gambling business during the course of his Chapter 7 bankruptcy proceeding.

              1.     Background on Internet Based Gambling Businesses
       17. An internet-based gambling business, or online sportsbook, utilizes a
website where an individual bettor can place wagers and bets upon the outcome of

various sporting (or other) events. In order for an individual bettor to gain access to

an online sportsbook, he/she must be provided the website URL, a user name, and a

password. Once the bettor has access to the online sportsbook, he/she is typically

provided credit in order to begin placing bets and wagers. The amount of credit given




                                             6
      Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 8 of 21 PageID #:8




to the bettor may vary, but it is not uncommon for a bettor to begin with $100 to

$1,000 of cred.it (as opposed. to having to bet cash up front), with the amount of credit

increasing over time. While the online sportsbooks may be accessed by bettors within

the United States, the servers for the website and the corporations that manage the

technical aspects of the website and accounts are located outside of the United States.

Many of these websites and servers are housed and located in Costa Rica.

       18.     Online sportsbooks are typically organized, managed and supervised by

a single bookmaker, who will accept bets from bettors based upon a variety of
decisions and expected outcomes of sporting and other events. Underneath them in

the hierarchy are "agents," who will either collect or pay out money depending upon

the outcome of the sporting event and bet(s) placed by the gambler. In many cases,

the agent will enlist the assistance of associates, called "subagents," to assist with

increasing the number of bettors utilizing the sportsbook. Subagents are typically

responsible for recruiting their own bettors, providing bettors with access to the

online sportsbook, and collecting and paying out money from bets. The subagents

commonly organize, manage, and supervise their recruited bettors' accounts online.

In exchange, the subagents may be compensated with a commission based on a
percentage, for example, by receiving a percentage of the gambling losses incurred by

their recruited bettors.

       19. The most common practice for collecting and paying out money is for
agents and subagents to coordinate with their bettors and conduct hand-to-hand cash
     Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 9 of 21 PageID #:9




transactions. Money is typically not exchanged through the online sportsbook; only

the bets themselves are placed online.

       20. When a bettor places a bet, there is a fee placed upon the bet. Because
online sportsbooks are typically credit-based, the fee is the amount being charged to

the bettor by the bookmaker to accept the bet. The fee can be either a percentage of

the total bet, or afl.at fee. That fee is collected by agents and subagents and eventually

passed on to the ultimate bookmaker. The agents and/or subagents may keep a share

of the fee.

       2L. The bookmaker must pay the corporation servicing the technical side of
the website and maintaining the computers servers. This is typically a "per-head" fee

based upon the number of gambling accounts the bookmaker has provided to the total

number of bettors who bet with him/her. Based on my training and experience

conducting organized crime and illegal gambling investigations, I believe that most

of the Costa Rican companies servicing online sportsbooks charge approximately

$5.00 to $10.00 "per head," or per gambling account. Depending on the number of

accounts and size of the overall online sportsbook, the bookmaker may be charged a

flat fee, or a combination of a flat fee and "per-head" cost. This fee is typically passed

by the bookmaker on to their agents, who must pay on a weekly-to-monthly basis and

is typically sent utilizing an international money transfer service.

              2.    Statements of Former Participants
       22. Law enforcement has interviewed multiple former participants in
FRONTIER's internet gambling business. According to these individuals,
        Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 10 of 21 PageID #:10




FRONTIER served as the agent for online sportsbooks, including one located at

lbetvegas.com.s They all fi.rst began betting with FRONTIER, then eventually began

assisting FRONTIER by recruiting additional bettors for FRONTIER and collecting

and delivering gambling proceeds (in other words, acting as his subagents). One

associate helped FRONTIER by wiring money to Costa Rica @elieved to be the fee

owed by FRONTIER to his online sportsbook). These individuals all participated in

FRONTIER's gambling business beginning in the years immediately preceding

FRONTIER's bankruptcy proceedings, and through approximately 20L6, after

FRONTIER filed his Chapter 7 petition and the year that FRONTIER s debts were

discharged. The following is a summary of information separately provided by those

individuals:

                                       Sub-Agent 1

          23. Sub-Agent 1 ("SA-1") provided the following information to law
enforcement.a SA-1 began gambling on sporting events through FRONTIER

beginning in approximately 201-L or 2012, and bet on sporting events through

FRONTIER for approximately 3-4 years. Frontier gave SA-1 a username and a

password for a website where SA-1 could place SA-1's bets. Those websites changed




3At the times referenced in this complaint, sports bookmaking constituted a criminal offense
under both federal law (18 U.S.C. S 1955) and the law of the State of Illinois (7?OILCS 5128-
1.1).
4 SA-1 has two prior controlled substance felony conrrictions. SA-1 was given proffer
protection for this information and was informed that SA-1 was not a focus of the
investigation. No other promises or assurances were made about what benefits SA-1 might
receive for SA-l's cooperation.



                                             I
    Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 11 of 21 PageID #:11




periodically, but SA-1 recalled that lbetvegas.com was one of the sites. According to

SA-1, FRONTIER was the "agent" for the site.

       24. SA-1 stated. that SA-1 usually bet on baseball games, usually at the rate
of $100 per game and $100 on a parlay, meaning a bet on two games that would both

need to win in order for SA-1 to win money. SA-1 recalled betting on baseball through

the 2016 season, which SA-1 remembered because that was the year that the Chicago

Cubs won the World Series.

       25. When SA-1 started gambling, FRONTIER started SA-1 at a weekly Limit
of $1,500 per week, meaning that was the most SA-1 could bet each week. That

weekly limit was then reflected on the website, so SA-1 could not bet more than that.

Over time, the weekly limit increased to $2,000 and then eventually to $4,000 per

week at SA-1's request. Throughout SA-l's time gambling with Frontier, however,

SA-l's consistent per-game limit was $500, meaning that was the most SA-1 could

win on each game. SA-1 estimated that in total, SA-1 lost between approximately

$30,000 and $40,000 while betting with Frontier.

      26. SA-1 stated that about once a week, SA-1 met FRONTIER to either pay
him if SA-1 lost or collect if SA-1 won. FRONTIER would come by SA-l's house a lot

to meet, and a few times they met in a gas station. They dealt in cash only.

      27   .   Towards the end of the time that SA-1 placed bets with FRONTIER, SA-

1 met acquaintances, Bettor 1 and Bettor 2, who knew that SA-1 was gambling online

and asked if they could place bets using SA-1's account. SA-1 then asked FRONTIER

if SA-1 could open up another account so SA-1 could place bets for them so that their




                                         10
    Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 12 of 21 PageID #:12




bets would not run up against SA-l's personal betting limits. FRONTIER then opened

up another two accounts on a website whose name SA-1 didn't recall. SA-1 passed

those usernames and passwords along to Bettor 1 and Bettor 2 so they could gamble

directly. They usually bet between $100 and $300 mostly on football games. Bettor 1

had a $1,500 weekly limit, and Bettor 2 had a S500 weekly limit. On one of the

websites, SA-1 could track how Bettor 1 and Bettor 2 were doing on an "agent screen"

by logging in with SA-1's regular password, while another website required a special

administrator login in order to track their gambling. Because FRONTIER didn't

know who SA-1's gamblers were, FRONTIER asked SA-1 to take care of it, so SA-1

would collect the money approximately weekly from SA-l's associates and then give

it to FRONTIER. If SA-l's foiends won, FRONTIER would give SA-1 their winnings
and SA-1 would pay them when SA-1 saw them. Because SA-1 was dealing with these

gamblers directly on behalf of FRONTIER, FRONTIER gave SA-1 10% of the total

losses that both gamblers incurred on each game. For example, if both Bettor l and

Bettor 2 both lost $100 gambling on a football game, FRONTIER gave SA-1 $20,

which he credited against SA-l's personal gambling debt. However, if one won $100

and the other lost $100, SA-1 got nothing from FRONTIER.

      28. SA-1 stopped gambling with FRONTIER some time in 2016, after the
websites stopped accepting bets. Around that time, FRONTIER told SA-1 that the

websites ran into some trouble, but FRONTIER didn't go into any detail about what

kind of trouble. Accordingly, SA-1 continued betting and working for FRONTIER
during the pendency of FRONTIER's Chapter 7 proceeding.




                                        11
     Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 13 of 21 PageID #:13




                                        Sub-Agent 2

         29. Sub-agent 2 ("SA-2") provided the following information to law
enforcement.s SA-2 began placing sports bets through FRONTIER's website,

lbetvegas.com, in approximately 2011 or 2012. FRONTIER provided SA-2 with a

username and password for the website. If SA-2 had questions about technical issues

with the website, FRONTIER told SA-2 to call the helpline listed on the website.

When SA-2 did that, the person on the other end of the line would ask SA-2 who SA-

2's agent was, and SA-2 would say, "Mike Frontier." If SA-2 wanted to cancel a bet,

or if there were issues related to money, or if SA-2 wanted to increase or decrease SA-

2's credit limit, FRONTIER wouldn't tell SA-2 to call the website, but instead would

say that he had to talk to "his guy" first. SA-2 never knew the identity of FRONTIER's

"guy."

         30. When betting on the website, SA-2 had a credit limit, although that limit
varied over the course of time, from approximately $1,000 to approximately $5,000.

SA-2 paid 10% 'Juice," meaning that if SA-2 wanted to place a $100 bet, SA-2 wagered

$110 to make $100.

         31. Over the years, SA-2 lost more than SA-2 won, totaling approximately
$20,000 in cash losses over the entire time period. FRONTIER didn't make SA-2 pay

every time SA-2 owed money. Rather, FRONTIER would only make SA-2 pay him



5 SA-2 has a prior conviction that is more than ten years old for driving under the influence.

SA-2 was given proffer protection for this information and was informed that SA-2 was not a
focus of the investigation. No other promises or assurances were made about what benefits
SA-2 might receive for SA-2's cooperation.



                                             t2
   Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 14 of 21 PageID #:14




when SA-2 reached a certain threshold level of SA-2's credit limit (for example,

FRONTIER would make SA-2 pay when SA-2 was at a $600 deficit of SA-2's fuIl

$1,000 credit limit). If SA-2 did have to pay, FRONTIER would either come by SA-2's

house or office to collect, or SA-2 would meet FRONTIER somewhere to deliver cash

to FRONTIER.

      32. Over time, SA-2 introduced other bettors to FRONTIER s gambling
business. For example, two of SA-2's roommates placed bets through FRONTIER's

website using SA-2's account. SA-2 also introduced other bettors to FRONTIER's

gambling business, including Bettor 3 and Bettor 4. In exchange, FRONTIER

arranged to provide SA-2 10% on the collections that SA-2 made from these bettors

on behalf of FRONTIER. When SA-2 received a l0% commission payment,
FRONTIER sometimes paid. SA-2 in cash, and he sometimes took the percentage off

what SA-2 owed FRONTIER from SA-2's own gambling debts.

      33. SA-2 was aware of other people who bet through FRONTIER, including
SA-2's friend, SA-1. SA-2 believed from conversations that SA-2 had with SA-1 that

SA-1 would sometimes collect money from other bettors on FRONTIER's behalf, and

that FRONTIER had a similar commission arrangement with SA-1 as with SA-2.

      34. SA-2 stopped betting with and working with FRONTIER approxirnately
a year after FRONTIER's brother died. FRONTIER s brother died in September

2Ol5; therefore, SA-2 was betting and working with FRONTIER during the pendency

of FRONTIER's Chapter 7 proceeding.




                                        13
    Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 15 of 21 PageID #:15




                                        Sub-Agent 3

       35. Sub-Agent S (*SA-3") provided. the following information to law
enforcement.G SA-3 first met FRONTIER in approximately 2014. Approximately a

year or so later, SA-3 began placing sports bets with FRONTIER. FRONTIER gave

SA-3 the address to a sports betting website, lbetvegas.com, and also provided SA-3

with a login and password.

       36. After SA-3 received that information from FRONTIER, SA-3 began
placing sports bets online. SA-3 didn't make much money at the time, and SA-3 was

placing smaller bets a couple of times a week, mostly on football-somewhere in the

range of approximately $5 up to $30. SA-3 increased the amount of SA-3's bets over

time, but not signifi.cantly, to approximately $50-$100 a game.

       37. While gambling with FRONTIER, SA-3 also obtained lbetvegas.com
website accounts for three other bettors. SA-3 oversaw two of those bettors' accounts

through lbetvegas.com, meaning that SA-3 could go onto the website and see if they

won or lost. After, SA-3 "settled up" their accounts with them, meaning that SA-3

would collect their cash if they lost, and then pay that money directly to FRONTIER,

or FRONTIER would grve SA-3 their winnings to deliver to them. When SA-3 met

FRONTIER to give SA-3 the money, they would often get together for lunch, or SA-3

would give it to FRONTIER on the weekend when SA-3 saw FRONTIER socially.




6 SA-3 was given proffer protection for this information and was informed that SA-3 was not

a focus of the investigation. No other promises or assurances were made about what benefits
SA-3 might receive for SA-3's cooperation.



                                             t4
    Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 16 of 21 PageID #:16




       38. SA-3 last bet with FRONTIER approximately two years ago, when SA-
3 bet on the 2Ol7 Super Bowl. SA-3 believed that the other bettors stopped betting

with FRONTIER around that time as welI, as SA-3 was no longer collecting from
them or paying out to them at that point. Accordingly, SA-3 continued betting and

working for FRONTIER during the pendency of FRONTIER's Chapter 7 proceeding.

                                       Sub-Agent 4

       39. Sub-Agent 4 ('SA-4') provided. the following information to law
enforcement.T According to SA-4, SA-4 met FRONTIER in approximately 2010 or

2}ll. Over the course of a few years, SA-4 placed online sports bets with FRONTIER,
who eventually gave SA-4 a username and password for the website lbetvegas.com.

SA-4 typically bet approximately $50-200 per game on football games, and SA-4 bet

on a couple of games a week on average. The website limited the amount SA-4 could

bet on any game; SA-4's account had a limit of approximately $300 per game, and a

weekly limit of $1,000. SA-4 regularly lost on SA-4's bets, and overall lost more than

SA-4 won. If SA-4 lost, SA-4 typically had to pay the amount SA-4 bet plus 10%. SA-

4 did not keep exact track of SA-4's total losses with FRONTIER, but SA-4 estimated

SA-4lost, on average, approximately $5,000 ayear.

       40. SA-4 recruited approximately five bettors for FRONTIER, including SA-
3. SA-4 asked FRONTIER for usernames and passwords for them, which SA-4
received from FRONTIER and then provided them to the bettors. SA-4 believed these


7 SA-4 was given proffer protection for this information and was informed that SA-4 was not

a focus of the investigation. No other promises or assurances were made about what benefits
SA-4 might receive for SA-4's cooperation.



                                            15
    Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 17 of 21 PageID #:17




bettors bet similar amounts as SA-4, in part because SA-4 would ofben get the money

from them to give to FRONTIER, or FRONTIER would give SA-4 their winnings to

pass along back to them. On a handful of occasions, SA-4 would accept money from

someone SA-4 didn't know at FRONTIER s request, and then FRONTIER would later

collect the money from SA-4. On some of those occasions, in exchange, FRONTIER

gave SA-4 a discount on what SA-4 owed FRONTIER, or possibly gave SA-4 cash.

There were also other times that SA-4 gave another gambler SA-4 knew, SA-3, the

money SA-4 and others owed to FRONTIER, and then SA-3 provided the cash to

FRONTIER.

          41. SA-4 stopped gambling with FRONTIER in approximately 2016or early
2OI7. SA-4 recalled trying to log onto the website and was unable to do so.

Accordingly, SA-4 continued to bet with and work as a sub-agent for FRONTIER

during the pendency of FRONTIER's Chapter 7 proceeding.

                                      Indiuidual A

       42. Individual A provided the following information to law enforcement.s
IndividualA first met FRONTIER in approximately 2013 or 2074. At some point afber

FRONTIER's brother died in September 20L5, FRONTIER asked if Individual A

wanted to make some extra money by running some errands for him. Individual A

agreed.




8 Individual A has no known criminal history. Individual A was given proffer protection for
this information and was provided with a non-target letter. No other promises or assurances
were made about what benefits Individual A might receive for Individual A's cooperation.



                                            16
    Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 18 of 21 PageID #:18




       43. FRONTIER then asked Individual A to pick up money orders, go to
currency exchanges to pay bills, and wire money down to Costa Rica. They sometimes

met at lunchtime, and FRONTIER would give Individual A cash for the errands over

lunch. Other times, FRONTIER would just give Individual A cash in a parking lot.

For each errand Individual A ran, FRONTIER gave Individual A approximately $100

each time.

       44. Individual A typically wired money to Costa Rica one to two times a
week, though sometimes more. Individual A sent money to Costa Rica through

MoneyGrams located in Walmarts, including the Walmart on North Avenue and Wolf

Road in Northlake, Illinois, and the Walmart in Addison, Illinois near Route 53 and

Lake Street. Individual A was sometimes asked by FRONTIER to wire money in short

ord.er because it was time-sensitive. Individual A recalled. wiring the money to

multiple people in Costa Rica, and was able to recall the name of three individuals

money was sent to. FROITITIER would tell Individual A which people to send the

money to on any given occasion, or sometimes FRONTIER had the request form

already filled out and Individual A would just take it to Walm art to do the wiring. At

FRONTIER's direction, Individual A used fake names to wire the money to Costa

Rica, including "Matthew Sullivan" and "Ira Goldberg." FRONTIER told Individual

A which names to use for any given transaction; Individual A did not,come up with

the sender names. Each time, Individual A wired approximately $500 to Costa Rica;

including fees, the total came to $508 per transaction. Individual A sent money to

Costa Rica for approximately a year and a half.




                                          t7
    Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 19 of 21 PageID #:19




       45. Individual A never asked FRONTIER specifi.cally what purpose was
served by wiring the money to Costa Rica, and Individual A did not recall having an

explicit conversation with FRONTIER about the purpose of these wirings. But after

a while, Individual A started to figure out that Individual A was helping FRONTIER

with FRONTIEBs sports betting business, which Individual A knew FRONTIER to

be involved in because of things Individual A had heard about FRONTIER.

Additionally, foom FRONTIER's use of fake names, and Individual lt's use of

Individual A to do the wirings, Individual A understood that FRONTIER wanted to

distance himself from the wirings.

             3.     MoneyGram Records

      46.    Records obtained from MoneyGram corroborate Ind.ividual A;s

statements regarding the money Individual A sent to Costa Rica. Specifi.cally, from

approximately February 20L5 to December 2016-during the pendency of

FRONTIER s        Chapter 7 bankruptcy-MoneyGram records indicate that
approximately 35 wirings totaling approximately $16,800 were made to individuals

in Costa Rica either by aliases "Matthew Sullivan" or "Ira Goldberg" or @ased on
surveillance footage of FRONTIER s wiring the money personally) by FRONTIER

himself. These wirings were transmitted from MoneyGrams located in the Walmarts

in Northlake, Illinois and Addison, Illinois, and were in the amount of either $300,

$450, or $500. On several occasions, surveillance video obtained from these

MoneyGram locations depict individuals positively identified by law enforcement as

FRONTIER or Individual A making these transactions.




                                        18
    Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 20 of 21 PageID #:20




      47. Based on my training and experience conducting organized crime and
illegal gambling investigations, I believe that these wirings, made during the
pendency of FRONTIER's bankruptcy proceedings, represented fees being paid to the

company which managed. and coordinated FRONTIER's online sportsbook, including

the website lbetvegas.com.

       48. In sum, I believe there is probable cause that, beginning in
approximately 2010, and lasting until 2016-including while his Chapter 7

bankruptcy was pending-FRONTIER was operating an illegal gambling business.

The cash income that he earned from this business was never disclosed on any

schedules fiIed with his Chapter 7 bankruptcy petition, in his Section 341 meeting,

or in any supplemental schedules frIed while his bankruptcy was pending.
Accordingly, I further believe there is'probable cause that FRONTIER fraudulently

concealed income and assets comprising property of his bankruptcy estate from his

creditors and the trustee, and made false statements in connection with that

proceeding.




                                        19
      Case: 1:19-cr-00556 Document #: 1 Filed: 07/10/19 Page 21 of 21 PageID #:21




IV,     CONCLUSION

        49. Based on the information above, I respectfully submit there is probable
cause to believe that d.efendant MICHAEL FRONTIER devised. a scheme to defraud.

and executed and concealed the scheme by frIing a bankruptcy case and documents

in a bankruptcy case and making false representations in a bankruptcy case, namely,

In re Micha,el Frontier, case number 15-28491, in violation of Title 18, United States
Code, Section 157.

                                        FURTHER AFFIAI\TT SAYETH NOT.



                                        RUSSELL J
                                        Special Agent
                                        Federal Bureau of Investigation


SUBSCRIBED AND SWORN to before me on JuIy 10, 20L9.




United -States Magistra




                                         20
